
23 N.Y.2d 740 (1968)
Rosa Multari et al., as Administratrices of The Estate of Francisco Multari, Deceased, Plaintiffs,
v.
Glalin Arms Corp., Defendant and Third-Party Plaintiff-Respondent. M. Krugman Construction Corp., Third-Party Defendant-Appellant.
Court of Appeals of the State of New York.
Submitted November 19, 1968.
Decided November 27, 1968.
Walter Feller and E. Edan Spencer for third-party defendant-appellant.
Morris Zweibel for third-party plaintiff-respondent.
Appeal dismissed, with costs, on the ground that the order appealed from does not finally determine the action within the meaning of the Constitution in that it reversed an order vacating a prior judgment.
